19-23185-rdd       Doc 124        Filed 09/05/19      Entered 09/05/19 18:20:52              Main Document
                                                     Pg 1 of 6


CHAPMAN AND CUTLER LLP
Steven Wilamowsky
1270 Avenue of the Americas
30th Floor
New York, NY 10020-1708
Telephone: 212.655.6000

-and-

Aaron M. Krieger
111 West Monroe Street
Chicago, IL 60603-4080
Telephone: 312.845.3000

Proposed Counsel for the Debtor and
Debtor in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
In re                                                     :   Chapter 11
                                                          :
Retrieval-Masters Creditors Bureau, Inc.,1                :   Case No. 19-23185 (RDD)
                                                          :
                           Debtor.                        :
----------------------------------------------------------x



         REVISED PROPOSED ORDER AUTHORIZING THE RETENTION AND
        EMPLOYMENT OF CHAPMAN AND CUTLER LLP AS ATTORNEYS FOR
        THE DEBTOR, EFFECTIVE NUNC PRO TUNC TO THE PETITION DATE




1
        The last four digits of the Debtor’s taxpayer identification number is 9495. The location of the Debtor’s
        service address for purposes of this chapter 11 case is 4 Westchester Plaza, Suite 110, Elmsford, NY 10523.
        The Debtor also does business as American Medical Collection Agency.
19-23185-rdd       Doc 124        Filed 09/05/19      Entered 09/05/19 18:20:52              Main Document
                                                     Pg 2 of 6


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
In re                                                     :   Chapter 11
                                                          :
Retrieval-Masters Creditors Bureau, Inc.,1                :   Case No. 19-23185 (RDD)
                                                          :
                           Debtor.                        :
----------------------------------------------------------x

       ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT OF
       CHAPMAN AND CUTLER LLP AS ATTORNEYS FOR THE DEBTOR,
             EFFECTIVE NUNC PRO TUNC TO THE PETITION DATE
______________________________________________________________________________

        Upon the application (the “Application”)2 of the debtor and debtor in possession (the

“Debtor”) in the above-captioned case for entry of an order (this “Order”) authorizing the

Debtor to retain and employ Chapman and Cutler LLP (“Chapman”) as its attorneys effective

nunc pro tunc to the Petition Date, pursuant to sections 327(a) and 330 of title 11 of the United

States Code (the “Bankruptcy Code”), Rules 2014(a) and 2016 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and rules 2014-1 and 2016-1 of the Local

Bankruptcy Rules for the Southern District of New York (the “Local Bankruptcy Rules”); and

the Court having reviewed the Application, the Declaration of Steven Wilamowsky, a partner of

Chapman (the “Wilamowsky Declaration”), and the declaration of Russell Fuchs, the Chief

Executive Officer of the Debtor (the “Fuchs Declaration”); and the Court having jurisdiction

over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and the Court having found that the

Application is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Court having found

that venue of this proceeding and the Application in this district is proper pursuant to 28 U.S.C.
1
        The last four digits of the Debtor’s taxpayer identification number are 9495. The location of the Debtor’s
        service address for purposes of this chapter 11 case is 4 Westchester Plaza, Suite 110, Elmsford, NY 10523.
        The Debtor also does business as American Medical Collection Agency.
2
        Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the
        Application.
19-23185-rdd     Doc 124      Filed 09/05/19    Entered 09/05/19 18:20:52           Main Document
                                               Pg 3 of 6


§§ 1408 and 1409; and the Court having found based on the representations made in the

Application and in the Wilamowsky Declaration that: (a) Chapman does not hold or represent an

interest adverse to the Debtor’s estate; and (b) Chapman is a “disinterested person” as defined in

section 101(14) of the Bankruptcy Code and as required by section 327(a) of the Bankruptcy

Code; and the Court having found that the relief requested in the Application is in the best

interests of the Debtor’s estate, its creditors, and other parties in interest; and the Court having

found that the Debtor provided adequate and appropriate notice of the Application under the

circumstances and that no other or further notice is required; and the Court having reviewed the

Application and having heard statements in support of the Application at a hearing held before

the Court (the “Hearing”); and the Court having determined that the legal and factual bases set

forth in the Application and at the Hearing establish just cause for the relief granted herein; and

any objections to the relief requested herein having been withdrawn or overruled on the merits;

and after due deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED

THAT:

        1.     The Application is granted as set forth herein.

        2.     The Debtor is authorized to retain and employ Chapman as its attorneys nunc pro

tunc to the Petition Date in accordance with the terms and conditions set forth in the Application

and in the Engagement Letter annexed hereto as Exhibit 1.

        3.     Chapman is authorized to provide the Debtor with the professional services as

described in the Application and the Engagement Letter. Specifically, but without limitation,

Chapman will render the following legal services:

               a.      advising the Debtor with respect to its powers and duties as a debtor in
                       possession;

               b.      advising and consulting on the conduct of this chapter 11 case, including
                       all of the legal and administrative requirements of operating in chapter 11;


                                                 -2-
19-23185-rdd        Doc 124   Filed 09/05/19    Entered 09/05/19 18:20:52         Main Document
                                               Pg 4 of 6


               c.       attending meetings and negotiating with representatives of creditors and
                        other parties in interest on behalf of the Debtor;

               d.       taking all necessary actions to protect and preserve the Debtor’s estate,
                        including prosecuting potential actions on the Debtor’s behalf, defending
                        any action commenced against the Debtor, and representing the Debtor in
                        negotiations concerning litigation in which the Debtor is involved,
                        including objections to claims filed against the Debtor’s estate;

               e.       preparing pleadings in connection with this chapter 11 case, including
                        motions, applications, answers, orders, reports, and papers necessary or
                        otherwise beneficial to the administration of the Debtor’s estate;

               f.       representing the Debtor in connection with obtaining authority to continue
                        using cash collateral and postpetition financing;

               g.       advising the Debtor in connection with any potential sale or other
                        disposition of assets;

               h.       appearing before the Court and any appellate courts to represent the
                        interests of the Debtor’s estate;

               i.       taking any necessary action on behalf of the Debtor to negotiate, prepare,
                        and obtain approval of a disclosure statement and confirmation of a
                        chapter 11 plan and all documents related thereto, or other similar case
                        disposition; and

               j.       performing all other necessary legal services for the Debtor in connection
                        with the prosecution of this chapter 11 case, including: (i) analyzing the
                        Debtor’s leases and contracts and the assumption and assignment or
                        rejection thereof; and (ii) advising the Debtor on corporate and litigation
                        matters.

       4.      Chapman shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with the Debtor’s chapter 11 case in

compliance with sections 330 and 331 of the Bankruptcy Code and applicable provisions of the

Bankruptcy Rules, Local Bankruptcy Rules, and any other applicable procedures and orders of

the Court.

       5.      Chapman shall provide ten (10) business-days’ notice to the Debtor, the U.S.

Trustee and the Committee before any increases in the rates set forth in the Application or the

Engagement Letter are implemented and shall file such notice with the Court. The U.S. Trustee


                                                -3-
19-23185-rdd     Doc 124      Filed 09/05/19    Entered 09/05/19 18:20:52         Main Document
                                               Pg 5 of 6


retains all rights to object to any rate increase on all grounds, including the reasonableness

standard set forth in section 330 of the Bankruptcy Code, and the Court retains the right to

review any rate increase pursuant to section 330 of the Bankruptcy Code.

       6.      Chapman shall not withdraw as the Debtor’s counsel before the effective date of

any chapter 11 plan confirmed in this chapter 11 case or before the conclusion of this chapter 11

case under any other disposition without prior approval of the Court in accordance with Local

Bankruptcy Rule 2090-1(e).

       7.      The Debtor and Chapman are authorized to take all actions necessary to effectuate

the relief granted in this Order in accordance with the Application.

       8.      Notice of the Application as provided therein is deemed to be good and sufficient

notice of such Application, and the requirements of the Local Bankruptcy Rules are satisfied by

the contents of the Application.

       9.      The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

       10.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

       11.     Notwithstanding any provision to the contrary in the Engagement Letter,

Chapman shall apply any remaining amounts of its prepetition retainer as a credit toward

postpetition fees and expenses, after such postpetition fees and expenses are approved pursuant

to the first Order of the Court awarding reimbursement of fees and expenses to Chapman, which

retainer shall not be be replenished absent further order of the Court.

       12.     Notwithstanding any provision to the contrary in the Engagement Letter, any

dispute relating to the services provided by Chapman shall be referred to arbitration consistent




                                                -4-
19-23185-rdd     Doc 124     Filed 09/05/19     Entered 09/05/19 18:20:52        Main Document
                                               Pg 6 of 6


with the terms of the Engagement Letter only to the extent that this Court does not have, retain or

exercise jurisdiction over the dispute.

       13.     Chapman shall use its best efforts to avoid any duplication of services provided

by any of the Debtor’s other retained professionals in this chapter 11 case.

       14.     Notwithstanding anything to the contrary in the Engagement Letter, Chapman

shall not withdraw as Debtor’s counsel prior to the effective date of any chapter 11 plan

confirmed in this chapter 11 case without prior approval of the Court in accordance with Local

Bankruptcy Rule 2090-1(e).

       15.     To the extent there is an inconsistency among this Order, the Application and the

Engagement Letter, the terms of this Order shall govern.



Dated: ____________, 2019
       White Plains, New York



                                          THE HONORABLE ROBERT D. DRAIN
                                          UNITED STATES BANKRUPTCY JUDGE




                                                -5-
